                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:03CR219


UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                       ORDER
                                    )
ANEWA TIARI-EL                      )
____________________________________)

        This matter is before the court upon Defendant’s Motion to Correct/Amend Judgment.
The Defendant requests that the court amend the Judgment to clarify that the schedule of
payments shall begin after the defendant’s release from prison, as indicated in Section D on page
five of the Judgment. The court finds that Section B, requiring payments to begin immediately,
was checked in error. Accordingly,
        IT IS THEREFORE ORDERED that the Motion to Correct/ Amend Judgment is hereby
granted and the Judgment shall be amended to remove the check in Section B on page five.




                                                Signed: September 23, 2010




   Case 3:03-cr-00219-GCM-DCK             Document 286       Filed 09/23/10      Page 1 of 1
